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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,
                                                             Criminal No. 18-0152-018
                                                             ELECTRONICALLY FILED
          v.

 JEWELL HALL, et al.,

                 Defendants.

                                  MEMORANDUM ORDER


         Before the Court is Defendant Monta Banks’s counseled Motion to Withdraw Guilty Plea

(ECF 1181) as well as Defendant’s counseled Motion to Transfer the Northeast Ohio

Correctional Center (“NEOCC”). ECF 1182. The Government filed an omnibus response to

these two motions. ECF 1194. The Court will DENY the Motions for the reasons set forth

below.

         I. Standard of Review

                A. Motion to Withdraw Guilty Plea

         With respect to Defendant’s Motion to Withdraw Guilty Plea, Rule 11(d)(2)(B) of the

Federal Rules of Civil Procedure indicates as follows:

                A defendant may withdraw a plea of guilty or nolo contendere:

                       (1) before the court accepts the plea, for any reason or no reason;
                       or

                       (2) after the court accepts the plea, but before it imposes sentence
                       if:
                               (A) the court rejects a plea agreement under Rule 11(c)(5);
                                       or
                               (B) the defendant can show a fair and just reason for
                               requesting the withdrawal.
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        When interpreting Rule 11, this Court acknowledges the guidance provided by the Court

of Appeals for the Third Circuit as follows:

               Once a court accepts a defendant’s guilty plea, the defendant is not
               entitled to withdraw that plea simply at his whim. United States v. Brown,
               250 F.3d 811, 815 (3d Cir. 2001); United States v. Martinez, 785 F.2d 111
               (3d Cir. 1986). Rather, pursuant to Federal Rule of Criminal Procedure
               32(e), a defendant must have a “fair and just reason” for withdrawing a
               plea of guilty. 6 Fed.R.Cr.P. 32(e); Brown, 250 F.3d at 815. A district
               court must consider three factors when evaluating a motion to withdraw a
               guilty plea: (1) whether the defendant asserts his innocence; (2) the
               strength of the defendant’s reasons for withdrawing the plea; and
               (3) whether the government would be prejudiced by the withdrawal.
               Brown, 250 F.3d at 815; United States v. Huff, 873 F.2d 709, 711 (3d Cir.
               1989). The burden of demonstrating a “fair and just” reason falls on the
               defendant, and that burden is substantial. United States v. Hyde, 520 U.S.
               670, 676–77, 117 S.Ct. 1630, 137 L.Ed.2d 935 (1997); United States v.
               Isaac, 141 F.3d 477, 485 (3d Cir. 1998). “A shift in defense tactics, a
               change of mind, or the fear of punishment are not adequate reasons to
               impose on the government the expense, difficulty, and risk of trying a
               defendant who has already acknowledged his guilt by pleading guilty.”
               Brown, 250 F.3d at 815 (quoting United States v. Jones, 979 F.2d 317, 318
               (3d Cir. 1992), superseded by statute on other grounds as stated in, United
               States v. Roberson, 194 F.3d 408, 417 (3d Cir.1999)).

United States v. Jones, 336 F.3d 245, 252 (3d Cir. 2003).

               B. Motion to Transfer to NEOCC

       Defendant has requested that this Court transfer Defendant from the Allegheny County

Jail to NEOCC. “The Director of the United States Marshals Service shall direct and supervise

all activities of the U.S. Marshals Service including: . . . [s]ustention of custody of Federal

prisoners from the time of their arrest by a marshal or their remand to a marshal by the court,

until the prisoner is committed by order of the court to the custody of the Attorney General for

the service of sentence, otherwise released from custody by the court, or returned to the custody

of the U.S. Parole Commission or the Bureau of Prisons.” 28 C.F.R. § 0.111(k).




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        II. Analysis

               A. Motion to Withdraw Guilty Plea

        In the instant matter, Defendant bears the burden of proving to this Court that he has a

fair and just reason for requesting the withdrawal of his guilty plea. As noted above, the Court of

Appeals for the Third Circuit suggests that when deciding if Defendant adequately demonstrated

a “fair and just reason” to withdraw his plea, this Court must consider: (1) whether Defendant is

now asserting his innocence; (2) the strength of Defendant’s reasons for withdrawing his guilty

plea; and (3) whether the Government will be prejudiced by the withdrawal of Defendant’s guilty

plea.

        The Court begins its analysis by first noting that during the Change of Plea Hearing held

on December 11, 2019, Defendant was asked twice if he understood that having been sworn, his

answers were subject to the penalties of perjury if he did not answer the Court’s questions

truthfully. ECF 1184, p. 2-3 and p. 27-28. Twice Defendant told the Court that he understood if

he did not tell the truth he could be subject to the penalties of perjury. Id.

        Defendant’s instant Motion to Withdraw Guilty Plea asserts that Defendant is innocent.

ECF 1181, p. 2. In addition, Defendant contends that he has or had “misunderstandings” about

his plea agreement. Id. Specifically, Defendant claims he has or had “misunderstandings”

concerning:

               a. The impact/implications of the Government having changed the offense
               at Count 7 from 21 U.S.C. § 841(b)(1)(b) to 21 U.S.C. § 841(b)(1)(c);

               b. The effect of the Government filing an 851 Notice on the 21 U.S.C. §
               841(b)(1)(c) offense rather than the prior charge of 21 U.S.C. §
               841(b)(1)(b);

               c. The impact/implications of the Fair Sentencing Act and First Step Act
               on his sentencing guidelines;



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              d. The dangerous weapon enhancement pursuant to 2D1.1;

              e. His designation as a career offender; and

              f. His waiver of appellate rights.

ECF 1181, p. 2. Finally, Defendant claims the Government will not be prejudiced by the

withdrawal. Id.

      The Government argues that Defendant’s instant assertion of innocence cannot be taken

seriously. During the Change of Plea hearing, the Government provided a summary of

Defendant’s offenses. During the Government’s recitation of the offense conduct, the

Government provided specific details concerning intercepted wiretap calls, intercepted text

messages, observations of Defendant made by law enforcement while Defendant was under

surveillance, and Defendant’s actual participation in at least one controlled buy of narcotics

made directly by Defendant. See Plea Hearing Transcript at ECF 1184. The Court asked

Defendant during the plea hearing if he agreed with the Government’s recitation “of what [he]

did” and the Defendant testified, under oath, with his counsel present that he did agree with the

summary of his crimes as described by the Government. Id. at 27-28. Accordingly, this Court

finds that Defendant’s Motion does not meet his burden of proving that he is innocent.

      Next, Defendant contends that he has or had “misunderstandings” about his plea

agreement. Defendant believes these misunderstandings lend strength to his argument that he

be allowed to withdraw his guilty plea. This Court disagrees.

      First, the Court notes that Defendant completed high school and attended one and one-

half years of college. Next, on the day of the plea hearing Defendant testified that he had not

taken any drugs or alcohol into his body in the 48 hours before the hearing. Thus, Defendant

was capable of understanding the proceeding that day. Finally, as noted by the Government,



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 and as the Plea Hearing transcript reflects, Defendant repeatedly indicated that he understood

 everything that was happening during his Change of Plea Hearing. Although the Court covered

 several topics with Defendant during his Change of Plea hearing, the following topics are

 among the most significant:

                 THE COURT: I direct your attention to page 6 of the original plea
                 agreement, which has been marked at Government’s Exhibit No. 1. Is that
                 your signature on page 6?

                 THE DEFENDANT: Yes, sir.

                 THE COURT: Counsel, your signature?

                 MR. MAKNOON: Yes, Your Honor.

                 THE COURT: Did you read and review the entire agreement with your
                 counsel before you signed it?

                 THE DEFENDANT: Yes. I did.

                 THE COURT: Do you understand all its terms and contents?

                 THE DEFENDANT: Yes, sir.

Id. at 6.
                 THE COURT: Have you read and reviewed the entire indictment with
                 your attorney?

                 THE DEFENDANT: Yes, sir.

                 THE COURT: Is that correct, Counsel?

                 MR. MAKNOON: Yes, Your Honor.

                 THE COURT: Do you completely understand the charges against you?

                 THE DEFENDANT: Yes, sir.

                 THE COURT: Do you have any questions about the crimes charged
                 against you in the superseding indictment?

                 THE DEFENDANT: No, sir.



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Id. at 6-7.

              THE COURT: Having explained your rights to you in detail this morning,
              do you still intend to plead guilty?

              THE DEFENDANT: Yes, sir.

Id. at 11.

              THE COURT: Do you understand the possible consequences of your
              guilty plea that I’ve reviewed with you in detail this morning?

              THE DEFENDANT: Yes, sir.

              THE COURT: I direct your attention to page 6 of the original plea
              agreement which has been marked at Government’s Exhibit No. 1. Is that
              your signature on page 6?

              THE DEFENDANT: Yes, sir.

              THE COURT: Counsel, your signature?

              MR. MAKNOON: Yes, Your Honor.

              THE COURT: Did you read and review the entire agreement with your
              counsel before you signed it?

              THE DEFENDANT: Yes. I did.

              THE COURT: Do you understand all its terms and contents?

              THE DEFENDANT: Yes, sir.

              THE COURT: Are there any other agreements or understandings with the
              United States Government that are not set forth in the plea agreement?

              THE DEFENDANT: I don’t think so, sir, no.

              THE COURT: Well, why don’t you talk to your counsel so you can give
              me a definite yes or no, please.
              (Private discussion between Defendant and defense counsel.)

              THE COURT: Did you have adequate time to talk to your attorney about
              that question?

              THE DEFENDANT: Yes, I did, sir.

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                THE COURT: Are there any other agreements or understandings with the
                United States Government that are not set forth in the plea agreement?

                THE DEFENDANT: No.
Id. at 16-17.


                THE COURT: Has anyone made any promise or assurance to you that is
                not in the plea agreement to persuade you to accept this agreement?

                THE DEFENDANT: No, sir.

                THE COURT: Has anyone threatened you in any way to persuade you to
                accept this agreement?

                THE DEFENDANT: No, sir.

                THE COURT: Except for what is in the plea agreement, has anyone
                predicted or promised to you what your actual sentence will be?

                THE DEFENDANT: No, sir.

                THE COURT: Has anything I’ve said here today suggested to you what
                your actual sentence will be?

                THE DEFENDANT: No.

                THE COURT: Has anyone told you not to tell the truth or respond
                untruthfully to any question?

                THE DEFENDANT: No, sir.

Id. at 18.

                THE COURT: Sir, in a moment I will ask you whether you agree with the
                Government’s summary of what you did, but first, do you understand that
                your answers may be later used against you in a prosecution for perjury or
                making a false statement if you do not answer truthfully?

                THE DEFENDANT: Yes, sir.

                THE COURT: Do you agree with the prosecution’s summary of what you
                did?

                THE DEFENDANT: Yes, sir.

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                THE COURT: Are there any additions or corrections you wish to make?

                THE DEFENDANT: No, sir.

Id. at 27-28.

                THE COURT: The Court finds there’s a factual basis to accept
                Defendant’s plea of guilty to the offenses charged in the superseding
                indictment. Having been advised of all your rights, do you still intend to
                plead guilty today?

                THE DEFENDANT: Yes, sir.

                THE COURT: Counsel, is that consistent with your advice?

                MR. MAKNOON: Yes, Your Honor.

                THE COURT: Has anyone forced you in any way to enter a plea of guilty
                to these charges?

                THE DEFENDANT: No, sir.

                THE COURT: Did you make this decision to plead guilty of your own
                free will and voluntarily?

                THE DEFENDANT: Yes, sir.

                THE COURT: Did you understand everything I’ve discussed with you
                today?

                THE DEFENDANT: Yes, sir.

                THE COURT: Have you ever had any physical or mental illness that
                affects your ability to understand these proceedings or my explanation of
                your rights?

                THE DEFENDANT: No, sir.

                THE COURT: Counsel, do you have any doubt about the Defendant’s
                competency to plead guilty?

                MR. MAKNOON: No, Your Honor.

                THE COURT: Are you completely satisfied with your attorney’s advice
                and representation?

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              THE DEFENDANT: Yes, I am.
Id. at 28.

                      THE COURT: Do you understand that in the plea agreement
              you’re giving up your right to appeal both the validity of your plea and
              legality of your sentence with only three limited exceptions? You may file
              an appeal from the judgment and sentence of the Court only, one, if the
              United States files an appeal from the sentence or; two, if the sentence
              exceeds the applicable statutory limits set forth in the United States Code;
              or, three, the sentence unreasonably exceeds the
              applicable advisory guideline range under the United States Sentencing
              Guidelines. Understand?

              THE DEFENDANT: Yes, sir.

              THE COURT: Do you further understand that nothing in your waiver of
              appellate rights, as set forth in the plea agreement, shall preclude you from
              raising a claim of ineffective assistance of counsel in the appropriate
              forum?

              THE DEFENDANT: Yes, sir.

              THE COURT: On the other hand, do you understand that the Government
              retains its right to oppose any such claim on procedural or substantive
              grounds?

              DEFENDANT: Yes, sir.

              THE COURT: Do you understand that you’re giving up your right to
              appeal, including that you’re waiving your right to file a motion to vacate
              sentence under United States Code Section 2255, except as I've stated?

              THE DEFENDANT: Yes, sir.
Id. at 33.

              THE COURT: The Court finds that you’re competent, that you know and
              understand your right to a jury trial and the consequences of waiving that
              right, and that you know the maximum penalties for the offenses charged.
              The Court, therefore, approves the plea agreement, accepts your guilty
              pleas, and finds you guilty of the offenses for which you have pled guilty.

Id. at 36.




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       Given these acknowledgements and admissions by Defendant, the Court now

turns to the specific reasons proffered by Defendant.

       First, Defendant claims that the Government “changed the offense at Count 7

from 21 U.S.C. § 841(b)(1)(b) [sic] to 21 U.S.C. § 841(b)(1)(c) [sic].” Count 7 was not

charged in the original indictment; rather, it was charged in the superseding indictment

(See Doc. No. 3). Therefore, the only “change” relating to Count 7 was that it was

charged for the first time in the superseding indictment. In light of the dialog that took

place between this Court and Defendant during Defendant’s Change of Plea Hearing,

Defendant’s alleged misunderstanding fails to provide an adequate reason to allow

Defendant to withdraw his plea.

        Next, Defendant claims he misunderstood the effect of the Government filing an

851 Notice on the 21 U.S.C. § 841(b)(1)(C) offense rather than the 21 U.S.C.

§ 841(b)(1)(B) offense, and alleges that this misunderstanding has caused him to want to

withdraw his guilty plea. The Court concurs with the Government’s explanation of the

impact of the 851 Notice as set forth in its submission. See ECF 1194, p. 28-29. Simply

put, the terms of Defendant’s 11(c)(1)(C) plea agreement indicate that Defendant agreed

to a minimum sentence of 10 years imprisonment. If Defendant had pled guilty without

the benefit of this plea agreement, Count 1 (which charges Defendant with violating 21

U.S.C. § 841(b)(1)(A)) would have placed a mandatory minimum of 15 years

imprisonment on Defendant with the filing of the 851 Notice. If Defendant had pled

guilty to Count 3 (which charges Defendant with violating 21 U.S.C. § 841(b)(1)(B))

without the benefit of this plea agreement – which enabled Defendant to plead guilty to a

lesser included offense at Count 3 – Defendant would face a mandatory minimum term of



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10 years; but, he would have had a higher career offender offense level of 37 with an

advisory guideline range of 360 months to life imprisonment. Because of the plea

agreement, the Government and Defendant stipulated to an offense level of 31 with an

advisory guideline range of 188 to 235 months imprisonment. Therefore, given the

advantageous terms of this Rule 11(c)(1)(C) plea agreement, Defendant’s argument

relating to the 851 Notice are a non-issue.

       Third, the impact of the Fair Sentencing Act and First Step Act are likewise of no

moment for the reasons set forth above.

       Fourth, Defendant claims he misunderstood the “dangerous weapon enhancement

pursuant to 2D1.1.” While this enhancement affects Defendant’s offense level, the

enhancement does not impact Defendant’s guideline range because Defendant is deemed

to be a career offender. Accordingly, Defendant’s calculations are performed in

accordance with section 4B of the United States Sentencing Guidelines. Whether or not

Defendant misunderstood whether Section 2D or 4B applied in this case, it does not have

any bearing on Defendant’s advisory guideline range. Therefore, this argument does not

persuade the Court to allow Defendant to withdraw his guilty plea.

       Fifth, Defendant claims to have misunderstood “his designation as a career

offender.” Defendant objected to this designation when the Presentence Investigation

Report was issued. ECF 1129. The United States Probation Office filed an Addendum to

the Presentence Investigation Report explaining its decision to apply the career offender

designation to Defendant. ECF 1130. Defendant has not provided this Court with any

authority which would allow for the withdrawal of a guilty plea due to a determination

made by the United States Probation Office (which this Court has not yet accepted),



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designating Defendant as a career offender. In addition, it is notable that even if

Defendant were to withdraw his plea and go to trial, the United States Probation Office

would not change its position on its designation of Defendant as a career offender. Thus,

the Court will not allow defendant to withdraw his guilty plea for this reason.

          Finally, Defendant claims to have misunderstood “[h]is waiver of appellate

rights.” During the Change of Plea Hearing, this Court asked Defendant if he understood

the terms of his plea agreement, which contained a waiver of his appellate rights, (ECF

1184, p. 16) and specifically reviewed the waiver of his appellate right with him. Id., p.

33. This Court finds that Defendant knew and understood the appellate rights he was

foregoing, and thus, declines to allow Defendant to withdraw his guilty plea for this

reason.



                 B. Motion to Transfer to NEOCC

          The Court is unable to grant Defendant’s Motion. Defendant essentially asserts

mere inconvenience at being housed in the Allegheny County Jail instead of NEOCC.

The Congressional Federal Regulation makes it clear that the director of the United States

Marshals Service shall manage the custody of all Federal prisoners; thus, this Court has

no authority to order a transfer, especially one based on mere inconvenience to

Defendant.



          III. Conclusions

          Based on the foregoing law and analysis, both of Defendant’s Motions will be

denied.



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                                 ORDER OF COURT

      AND NOW, this 18th day of September, 2020, upon careful consideration of the

arguments presented, the Court DENIES Defendant’s Motion to Withdraw Guilty Plea

(ECF 1181) and also DENIES Defendant’s Motion to Transfer to the Northeast Ohio

Correctional Center. ECF 1182.

                                   SO ORDERED this 18th day of September, 2020.


                                   s/ Arthur J. Schwab
                                   Arthur J. Schwab
                                   United States District Judge




cc:   All ECF Registered Counsel of Record




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